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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                        )
                                                )       Docket No. 20-cr-10012-IT
                                                )
v.                                              )
                                                )       LEAVE GRANTED ON 4/26/22
                                                )       TO FILE REDACTED MEMO &
PAUL BATEMAN                                    )       CERTAIN EXHIBITS UNDER SEAL


     DEFENDANT’S MOTION TO RECONSIDER THE COURT’S ORDERS DENYING
         DEFENDANT’S MOTION TO SUPPRESS AND MOTION TO COMPEL

        The defendant, Paul Bateman, moves this Court to reconsider its rulings denying his motion

to suppress and his motion to compel. See D.E. 76 (Motion to Compel); 106 (Motion to Suppress).

Recently, undersigned counsel have been made aware of new information relevant to and

supportive of both of Mr. Bateman’s motions. Specifically, counsel have identified several warrant

applications and complaints from other districts that are very similar, and in some cases identical,

to the warrant application and affidavit issued in Mr. Bateman’s case. See Exhibits 1-8.

Additionally, independent FOIA litigation in the District of Maryland, unrelated to Mr. Bateman’s

case, revealed a case opening document from the FBI dating back to 2017, with language

describing a Tor hidden service site that is identical to the description of Website A at issue in this

case. Compare Exhibit 9 with Motion to Suppress, Exhibit A, at ¶ 15. Counsel have also obtained

redacted documents                                                                                 that

indicate not only that United States law enforcement was deeply involved in the investigation of

this target website as early as 2016, but also that U.S. law enforcement was working in tandem

with foreign law enforcement in that investigation. See Exhibits 10-11. Finally, an affidavit filed

in another case stemming from the same investigation explains why Agent Squire’s assertions

about the Tor network were misleading. See Exhibit 13.

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        This information lends substantial support to Mr. Bateman’s arguments that the warrant

lacked probable cause, that Agent Squire made material omissions in his affidavit, and that Mr.

Bateman is entitled to the discovery he has requested from the government. The documents also

undermine the government’s persistent claims that Mr. Bateman’s arguments are purely

speculative. In light of this information, Mr. Bateman moves this Court to reconsider its prior

rulings, grant his motion to suppress, order a Franks hearing, and grant his motion to compel

discovery.

   I.        Mr. Bateman’s Case is Just One in a Large-Scale, Multi-National, Coordinated
             Investigation, Which Was Not Disclosed in Agent Squire’s Affidavit.

        Undersigned counsel have identified multiple cases from across the country that rely on an

August 2019 tip from an undisclosed FLA that an IP address was used to visit a Tor hidden services

website sometime in April or May 2019. The number of similar cases using similar, if not identical,

language to the search warrant affidavit in Mr. Bateman’s case suggests a large-scale, coordinated

investigation into websites hosted on the Tor network akin to the Playpen investigation. See “The

Playpen Cases: Mass Hacking by U.S. Law Enforcement,” Electronic Frontier Foundation,

available at https://www.eff.org/cases/playpen-cases-mass-hacking-us-law-enforcement. These

cases and documents demonstrate that the purportedly individualized and as-yet unsupported FLA

“tip” regarding a single IP address referenced in Agent Squire’s affidavit was actually part of a

much wider investigation than what has been disclosed by the government thus far or by Agent

Squire in his affidavit. Furthermore, the scale of the investigation, involving an undisclosed

amount of IP addresses, calls into question not just the methodology used to de-anonymize the IP

addresses, but the reliability of that as-yet undisclosed methodology.




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    II.      U.S. Law Enforcement Was Working More Closely and Collaboratively with
             Foreign Law Enforcement Agencies than Was Previously Disclosed.

          The documents shed new light on the role of U.S. law enforcement in the investigation of

                                                                        as a collaborative partner of

foreign law enforcement agencies. From these new documents, six particular facts stand out.

          First, an FBI report dated January 13, 2017 documents a “preliminary investigation” into a

Tor hidden service site with language identical to that found on            . This document indicates

that the FBI opened an investigation into              more than two years before the IP addresses

that had purportedly visited             were transmitted by a foreign law enforcement agency to

U.S. law enforcement. See January 13, 2017 FD-302, attached as Exhibit 9. Agent Squire withheld

this information from his affidavit. Taken with the other facts counsel has since discovered about

the extent to which U.S. law enforcement was involved in a joint venture with foreign law

enforcement to investigate the website, Agent Squire’s omission is significant.

          Second, documents from

connect the Department of Homeland Security, and specifically Special Agent Squire and HSI

Boston, to a joint, international investigation of a specific constellation of Tor hidden service sites

starting as early as 2016. 1




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Two of those individuals were Patrick Falte and Benjamin Faulkner, the creators and lead

administrators of the Giftbox Exchange and Child’s Play, two Tor hidden services sites dedicated

to the sharing of child abuse materials. Id.; see also United States v. Benjamin Faulkner and

Patrick Falte, Case No. 3:17-CR-00049-JAG (E.D. Va., Oct. 4, 2016) (Criminal Complaint)

(attached as Exhibit 12). 2 These individuals were arrested and interviewed in the United States.

Ex. 10 at 5; Ex. 12 at ¶ 9. During those interviews with U.S. law enforcement agents, Faulkner or

Falte, or both, provided “passwords to devices, … encryption keys and signature keys.” Ex. 10 at

5; see also Ex. 12 at ¶ 9.

        HSI shared this information from Faulkner and/or Falte with foreign law enforcement

agencies. In particular, HSI immediately sent the usernames, passwords, and encryption keys to

the Tor site Child’s Play to the Australian police. 3 HSI appears to have also shared the information

from these interviews with




        Although the documents from                             are heavily redacted, there are multiple

references to Homeland Security, as well as HSI Boston and Agent Squire.




2
  See also “Four Men Sentenced to Prison for Engaging in a Child Exploitation Enterprise on the Tor
Network,” Department of Justice (Aug. 12, 2019) (available at https://www.justice.gov/opa/pr/four-men-
sentenced-prison-engaging-child-exploitation-enterprise-tor-network); Håkon F. Høydal, “Breaking the
Dark Net: Why the Police Share Abuse Pics to Save Children,” VG (Oct. 7, 2017), available at
https://www.vg.no/spesial/2017/undercover-darkweb/?lang=en.
3
  A special unit in the Australian police called Task Force Argos then ran Child’s Play for 11 months. See
Høydal, supra note 2.

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                                                          It is clear that the investigation of multiple

Tor hidden websites, including            , relied heavily on collaboration between U.S. and foreign

law enforcement. Canadian, U.S., New Zealand, and Australian law enforcement agencies worked

together to investigate, locate, and arrest Faulkner and Falte. See Ex. 10 at 1-5; Høydal, supra note

2. U.S. law enforcement obtained information from those individuals, and then took that

information to foreign law enforcement to continue the investigation into Tor hidden services sites.

Id. It was only because of that cooperation and collaboration that agents were able to identify and

eventually arrest




       Third, one of the attached affidavits states that this investigation of multiple target websites

on the Tor network was a “collaborative” effort with foreign law enforcement partners. United

States v. Thomas S. Clark, Case No. 2:21-MJ-00147-JLW (W.D. Wash., March 11, 2021)

(Complaint) (“Clark Complaint”) attached as Exhibit 4, at ¶ 5. The Clark complaint clearly

describes the same investigation that led to the identification of Mr. Bateman’s IP address. Like

Mr. Bateman’s case, Clark involved a tip from an FLA that a specific IP address accessed a target

website on the Tor network in April 2019. See Ex. 4, at ¶¶ 5-10. The language of the Clark

complaint also mirrors that in Agent Squire’s affidavit, especially in its description of the Tor

network. Compare Ex. 4, ¶ 9, with Motion to Suppress, Exhibit A, ¶¶ 12-13. In both cases,

administrative subpoenas were sent to internet services providers (Comcast) at similar times

(September 5, 2019 in Clark, September 10, 2019 in Mr. Bateman’s case). Ex. 4, ¶ 10; Motion to




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Suppress, Exhibit A, ¶ 27. The “collaborative” investigation that formed the basis of the Clark

case is therefore the same investigation that led to Mr. Bateman’s IP address.

        Fourth, the Clark Complaint also indicates that Agent Squire viewed one of the target

websites that was hosted on the server seized by a foreign law enforcement agency in June 2019

while that website was still operational. Ex. 4, at ¶ 8. The Clark Complaint – written by HSI

Special Agent Berg – states that “in June of 2019, a foreign law enforcement agency seized a

computer server hosting three ‘dark web’ sites operating on the Tor (The Onion Router) Network.”

Id at ¶ 5. The Target Website in the Clark case does not appear to be               but does appear to

be hosted on the same server as              . 4 The complaint goes on to state that HSI was notified

by an FLA that an IP address had accessed a target website on April 12, 2019. Id. at ¶ 7. It then

states, “[a]ccording to the foreign law enforcement agency and HSI Special Agent Greg Squire

who observed the TARGET WEBSITE while it was operational, child pornography images and

videos were trafficked through the TARGET WEBSITE via the posting of web links within forum

messages.” Id. at ¶ 8. If Agent Squire were able to view a target website that was hosted on a server

seized in June 2019 while that website was operational, it would necessarily have been well

before U.S. law enforcement received the tip from              in August 2019. Agent Squire omitted

the fact that he was involved in the investigation of a particular set of Tor hidden sites prior to the

receipt of an FLA “tip” involving the target website from his affidavit. This fact, along with the

others revealed in this new set of documents, directly counters the narrative in Agent Squire’s

affidavit that U.S. law enforcement simply received a single tip from an undisclosed FLA with no

other context.



4
 Agent Squire does not indicate when the server hosting             was seized. However, documents in
other cases stemming from the same investigation indicate that the server hosting          was seized by
an FLA                in June 2019. See Ex. 1, at ¶ 14; Motion to Suppress, D.E. 106, at 17.

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        Fifth, in another case, HSI Boston is noted to have been working in tandem with foreign

law enforcement to investigate Tor hidden services sites as early as 2018. See United States v.

Dashawn Webster, Case No. 2:18-CR-101-RAJ (E.D. Va. May 18, 2018) (Affidavit in Support of

Application for Issuance of Criminal Complaint) (“Webster Complaint”) attached as Exhibit 8, at

¶ 13 (“HSI Boston is also conducting an investigation of various Darkweb sites along with foreign

law enforcement partners.”) (emphasis added). In fact, HSI Boston, and Agent Squire in particular,

are specifically noted in several cases involving U.S.-FLA joint investigations outside of this

District. See Ex. 4, at ¶¶ 5-8; Ex. 6, at ¶ 62; Ex. 8, at ¶ 12.




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       Together, these documents show that U.S. law enforcement’s involvement in the

investigation of           was much more significant and much more collaborative with foreign

law enforcement partners than what was indicated in Agent Squire’s affidavit. The materials reveal

that U.S. law enforcement became aware of, and began investigating,              as early as 2016,

when the website was created. From the outset of the investigation, U.S. law enforcement worked

in tandem with foreign law enforcement agencies, including, at the very least, law enforcement in

Canada, New Zealand, and Australia. HSI Boston, and Agent Squire in particular, appears to have

played a significant role in that investigation. Agent Squire even viewed one of the Tor hidden

services websites targeted in this wide-scale investigation while that website was operational,

which necessarily had to have occurred months prior to when the          sent the “tips” regarding

an as-yet unknown number of IP addresses.



       The documents demonstrate that U.S. law enforcement was engaged in a joint venture with

foreign law enforcement partners to investigate multiple Tor hidden services websites, including

          . Failing to include the extent to which U.S. law enforcement was engaged in a joint

venture to investigate the target website in Mr. Bateman’s case was a significant and material

omission. See United States v. Valdivia, 680 F.3d 33, 51 (1st Cir. 2012). This is especially true

because, as described below, the new materials further corroborate the use of a network

investigative technique (NIT) to de-anonymize a large number of IP addresses.



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          The documents also demonstrate that there is a significant amount of withheld discovery

material to Mr. Bateman’s suppression issues. This material includes, but is not limited to, the

identity of the country (and agency) that infiltrated the website, the identity of the country (and

agency) that seized the server (if different), the identity of the country (and agency) that deployed

a technique that identified Mr. Bateman’s IP address, the circumstances and methodology of that

identification; and the user history and logs

                                        . These are some of the items that were specifically

requested, and which were denied in this Court’s ruling. See D.E. 85 (Order Denying Motion to

Compel). This material should have been produced in order for the suppression issues to have

been decided on a fair and accurate record. This material should now be produced to

counsel, pursuant to the protective order issued in this case, or at a minimum should be

produced to the Court for an in camera inspection.

   III.      The Additional Materials Substantiate Mr. Bateman’s Claim that a NIT Was
             Used.

          The newly discovered materials demonstrate that this case arose from an operation that was

massive in scope and involved large numbers of IP addresses. The operation was so large that U.S.

law enforcement used boiler-plate affidavits for search warrants that required only minor

modifications. The number of cases stemming from the same investigation, and the likely much

larger number of IP addresses identified by law enforcement, is further evidence that the

investigation involved a NIT, a technique that necessarily interferes with computers wherever they

are located. See Motion to Suppress, Exhibit H (Murdoch Declaration) at ¶ 23 (noting that a NIT

“interferes with a user’s computer”); ¶ 31 (“Traffic analysis is extremely unlikely to yield the

hundreds of IP addresses submitted by the [redacted] nor give [redacted] the confidence that these

IP addresses visited the Onion Service in question”). That calls into serious doubt Agent Squire’s

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representations in the Affidavit that no U.S. computer was interfered with, especially since that

assurance was only made as to the tip-providing FLA, without reference to U.S. involvement at

the front end of the investigation and without reference to the server-seizing FLA and/or country.

         As the number of cases that have stemmed from this multi-national investigation grow, so

too do the number of omissions from Agent Squire’s affidavit. The new documents discovered by

undersigned counsel demonstrate that Mr. Bateman’s claims are not pure speculation. This Court

should reconsider its denial of Mr. Bateman’s motions to compel discovery and to suppress. The

Court should also order a Franks hearing and order the government to turn over the discovery that

Mr. Bateman has sought.

   IV.      Agent Squire’s Assertions About the Tor Network, Adopted by this Court in its
            Order Denying Mr. Bateman’s Request for a Franks Hearing, Were Misleading.




                This Court adopted Agent Squire’s conclusions in denying Mr. Bateman’s motion

for a Franks hearing. See Order Denying Motion to Suppress, D.E. 117, at 9. For example, the

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Court noted that even if Agent Squire had omitted the fact that law enforcement had no information

that the internet user associated with Mr. Bateman’s IP address had navigated beyond Website A’s

homepage, “it would not be a material [omission]” because “the effort required to access Website

A suggests that an individual visiting the site—even if just the homepage—was actively and

willfully seeking out its content.” Id.

       An affidavit recently filed in yet another case stemming from the same investigation

directly undermines this conclusion. See United States v. Stuart, 21-cr-00007 (W.D.N.Y. Jan. 31,

2022) (Affidavit of Gerald R. Grant) (attached as Exhibit 13). The affidavit, written by an expert

in computer forensics, explains that “[w]hile it is true that websites on the Tor network are not

directly ‘indexed’ by search engines - such as Google - in the same manner as websites on the

public internet, that does not mean that a user cannot easily find links to hidden Tor websites

through Google.” Ex. 13 at ¶ 4. The expert affidavit specifically notes that a “simple search” can

lead to web pages that contain links to hidden Tor websites. Id. at ¶ 5. Therefore, “it is possible for

a user to easily find a list of links to hidden Tor websites, click on a link, and be taken to that

website without being aware of what content it contains. The typical names of these hidden Tor

websites do not indicate possible content, due to the use of the 16-or-56-character web address.”

Id. at ¶ 6 (emphasis added).

       Respectfully, Mr. Bateman moves this Court to reconsider its conclusion that Agent

Squire’s omission that the tip did not indicate that an internet user had navigated beyond the

homepage of Website A would not have been a material one. The Court’s support for that

conclusion – that simply navigating to the website means an individual was “actively and willfully

seeking out its content,” is flawed. The Grant affidavit indicates that an individual could have

accessed the homepage of Website A without being aware of its content. Moreover, even if it were



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true that an individual did know what Website A contained, a one-time visit to the website’s

homepage, without any evidence that that individual logged into that website, or viewed any child

abuse material on that website, cannot establish probable cause. See United States v. Falso, 544

F.3d 110, 120-21 (2d Cir. 2008). That the website in question did not contain any child abuse

material on its homepage, and that the government had no evidence that the individual associated

with the IP address actually had any log-in credentials for the website further vitiate any probable

cause.

                                         CONCLUSION

         For the aforementioned reasons, this Court should reconsider its rulings denying Mr.

Bateman’s motions to compel and to suppress. The Court should order the government to turn over

the discovery requested by Mr. Bateman, suppress the evidence obtained as a result of the search

warrant, and order a Franks hearing.



                                                     Respectfully submitted,
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                                                     By His Attorneys,

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                                   CERTIFICATE OF SERVICE
I, Sandra Gant, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participant(s) as identified on the Notice of Electronic Filing
(NEF) on April 26, 2022.

                                       /s/ Sandra Gant
                                       Sandra Gant




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